Case 1:15-cr-00377-AJN Document 139 Filed 06/21/16 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
v. 15 Cr. 377 (AJN)
STEVEN RAWLINS,
Defendant.

Upon the application of the United States of America, by its attorney, Preet Bharara,
United States Attorney for the Southern District of New York, Andrew J. DeFilippis, Assistant
United States Attorney, of counsel; the presentence report; the Defendant’s conviction on Count
One of the above Information; and all other proceedings in this case, it is hereby ORDERED
that:

STEVEN RAWLINS, the Defendant, shall pay restitution in the total amount of
$12,203,209.70 to the victims of the offenses charged in Count One. The victims and specific

amounts owed to each victim are set forth in the Schedule of Victims attached hereto.

Dated: New York, New York
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UNITED STATES DISTRICT JUDGE

09.10.2013
Case 1:15-cr-00377-AJN Document 139 Filed 06/21/16 Page 2 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA Schedule of Victims
Vv. 15 Cr. 377 (AJN)
STEVEN RAWLINS,
Defendant.

Name Amount of Restitution Address

Prime Health Services, Inc. $11,113,619.44 7110 Crossroads Blvd #
100, Brentwood, TN
37027

Core Choice, Inc.

$1,022,590.26

23272 Mira Bella Circle
North, Boca Raton, FL,
33433

Shane Gaddes

$67,000

9610 Lineberger Court

Total

“| $12,203,209.70

Brentwood, TN 37027

09.10.2013

